 Case 21-03020-sgj Doc 113 Filed 09/15/21         Entered 09/15/21 13:10:33       Page 1 of 4



 LATHAM & WATKINS LLP                            BUTLER SNOW LLP
 Andrew Clubok (pro hac vice)                    Martin Sosland (TX Bar No. 18855645)
 Sarah Tomkowiak (pro hac vice)                  Candice Carson (TX Bar No. 24074006)
 555 Eleventh Street, NW, Suite 1000             2911 Turtle Creek Blvd., Suite 1400
 Washington, DC 20004                            Dallas, TX 75219
 Telephone: (202) 637-2200                       Telephone: (469) 680-5502

 Jeffrey E. Bjork (pro hac vice)
 Kimberly A. Posin (pro hac vice)
 355 South Grand Avenue, Suite 100
 Los Angeles, CA 90071
 Telephone: (213) 485-1234

 Kathryn George (pro hac vice)
 330 North Wabash Avenue, Suite 2800
 Chicago, IL 60611
 Telephone: (312) 876-7700

 Counsel for UBS Securities LLC and UBS
 AG London Branch

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re                                        §
                                             §
                                                                           Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,1          §
                                             §
                                                                    Case No. 19-34054-sgj11
          Debtor.                            §
                                             §
UBS SECURITIES LLC and UBS AG LONDON BRANCH, §
                                             §
          Plaintiffs,                        §
                                             §
                                                                     Adversary Proceeding
v.                                           §
                                             §
                                                                          No. 21-03020
HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
          Defendant.                         §
                                             §

   APPENDIX OF EXHIBITS TO UBS’S REPLY IN FURTHER SUPPORT OF ITS
   MOTION FOR EXPEDITED HEARING ON FOREIGN NON-PARTY SENTINEL
        REINSURANCE, LTD.’S MOTION FOR PROTECTIVE ORDER


   1
      The last four digits of the Debtor’s taxpayer identification number are 6725. The Debtor’s
headquarters and service address is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03020-sgj Doc 113 Filed 09/15/21            Entered 09/15/21 13:10:33     Page 2 of 4




        UBS Securities LLC and UBS AG London Branch (together “UBS”) submit this Appendix

of Exhibits (the “Appendix”) to UBS’s Reply in Further Support of Its Motion for Expedited

Hearing on Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for Protective Order, filed

concurrently herewith. The following exhibits are attached to this Appendix:

 Ex. No.                             Description                                 App. No.


            Declaration of Kathryn K. George in Support of UBS’s Reply
    A       in Further Support of Its Motion for Expedited Hearing on            UBSXP01
            Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for
            Protective Order, and Exhibit 1 thereto


            Letter from Sentinel Reinsurance, Ltd.’s board of directors to
    1                                                                            UBSXP04
            the Debtor, Highland Capital Management, L.P., dated August
            30, 2021




 Dated: September 15, 2021                         Respectfully submitted,

                                                   /s/ Sarah Tomkowiak

                                                   LATHAM & WATKINS LLP
                                                   Andrew Clubok (pro hac vice)
                                                   Sarah Tomkowiak (pro hac vice)
                                                   555 Eleventh Street, NW, Suite 1000
                                                   Washington, DC 20004
                                                   Telephone: (202) 637-2200
                                                   Email:    andrew.clubok@lw.com
                                                             sarah.tomkowiak@lw.com

                                                   Jeffrey E. Bjork (pro hac vice)
                                                   Kimberly A. Posin (pro hac vice)
                                                   355 South Grand Avenue, Suite 100
                                                   Los Angeles, CA 90071
                                                   Telephone: (213) 485-1234
                                                   Email:     jeff.bjork@lw.com
                                                              kim.posin@lw.com




                                               2
Case 21-03020-sgj Doc 113 Filed 09/15/21    Entered 09/15/21 13:10:33    Page 3 of 4




                                           Kathryn George (pro hac vice)
                                           330 North Wabash Avenue, Suite 2800
                                           Chicago, IL 60611
                                           Telephone: (312) 876-7700
                                           Email:    kathryn.george@lw.com

                                           BUTLER SNOW LLP
                                           Martin Sosland (TX Bar No. 18855645)
                                           Candice Carson (TX Bar No. 24074006)
                                           2911 Turtle Creek Blvd., Suite 1400
                                           Dallas, TX 75219
                                           Telephone: (469) 680-5502
                                           Email:    martin.sosland@butlersnow.com
                                                     candice.carson@butlersnow.com

                                           Counsel for UBS Securities LLC and UBS AG
                                           London Branch




                                       3
Case 21-03020-sgj Doc 113 Filed 09/15/21            Entered 09/15/21 13:10:33        Page 4 of 4




                                CERTIFICATE OF SERVICE

       I, Martin Sosland, certify that this Appendix of Exhibits to UBS’s Reply in Further Support

of Its Motion for Expedited Hearing on Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion

for Protective Order was filed electronically through the Court’s ECF system, which provides

notice to all parties of interest. And a courtesy copy of this appendix will be provided to counsel

for Beecher Carlson Insurance Services, LLC by email.

Dated: September 15, 2021                        /s/ Martin Sosland
                                                 Martin Sosland




                                                4
